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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA            )
                                    )
                  Plaintiff,        )                  Case No. 1:05-cr-18
                                    )
v.                                  )
                                    )
DUAYNE SAFFORE,                     )
                                    )                          ORDER
                  Defendant.        )
____________________________________)


               Defendant, Duayne Saffore, has moved pursuant to Fed. R. App. P. 10(e) for an order

supplementing the record, to include certain letters received and considered by Judge David W.

McKeague at the time of sentencing, so that the supplemented record may be considered by the

Court of Appeals in connection with defendant’s pending appeal. The United States Attorney has

informed the court that she does not oppose the motion. Rule 10(e) of the Federal Rules of Appellate

Procedure allows the district court to correct or modify the appellate record to include any material

“omitted from or misstated in the record by error or accident.” The purpose of Rule 10(e) is to allow

the district court to correct omissions from or misstatements in the record for appeal, not to introduce

new evidence in the Court of Appeals. See United States v. Smith, 344 F.3d 479, 485 (6th Cir.

2003); S&E Shipping Corp. v. Chesapeake & Oh. Ry. Co., 678 F.2d 636, 641 (6th Cir. 1982). The

sentencing transcript discloses that Judge McKeague reviewed and took into account the letters that

are the subject of defendant’s motion. (docket # 122, at 15). Consequently, defendant’s motion
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seeks only to supplement the record on appeal by including documents that were before the district

court, and does not seek to add new material. Accordingly:

               IT IS ORDERED that defendant’s motion to supplement the record on appeal (docket

# 146) be and hereby is GRANTED. The six letters attached to defendant’s motion are hereby

certified to the Sixth Circuit Court of Appeals as part of the record on appeal, pursuant to Fed. R.

App. P. 10(e)(2).



               DONE AND ORDERED this 5th day of January, 2006.


                                      /s/ Joseph G. Scoville
                                      United States Magistrate Judge




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